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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


JOHN CLOWNEY                                                  CIVIL ACTION

versus                                                        NO. 14-63

WARDEN TERRELL                                                SECTION: "H" (3)


                           REPORT AND RECOMMENDATION

              This matter was referred to this United States Magistrate Judge for the purpose of

conducting a hearing, including an evidentiary hearing, if necessary, and submission of proposed

findings of fact and recommendations for disposition pursuant to 28 U.S.C. § 636(b)(1)(B) and (C)

and, as applicable, Rule 8(b) of the Rules Governing Section 2254 Cases in the United States

District Courts. Upon review of the record, the Court has determined that this matter can be

disposed of without an evidentiary hearing. See 28 U.S.C. § 2254(e)(2). Therefore, for all of the

following reasons, IT IS RECOMMENDED that the petition be DISMISSED WITHOUT

PREJUDICE.

              Petitioner, John Clowney, is a state prisoner incarcerated at the Allen Correctional

Center, Kinder, Louisiana. On April 20, 2009, he was convicted of aggravated battery under
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Louisiana law.1 On May 29, 2009, he was sentenced to a term of ten years imprisonment.2 On that

same date, he filed a motion to reconsider sentence;3 that motion was denied on August 18, 2009.4

On May 12, 2010, the Louisiana Fourth Circuit Court of Appeal affirmed his conviction; however,

the Court of Appeal declined to review his sentence and instead remanded the matter to the district

court based on an erroneous belief that the motion to reconsider sentence was still pending.5 In a

subsequent ruling on January 30, 2012, the Court of Appeal again ordered the district court to rule

on the motion to reconsider.6 At a hearing on March 5, 2012, the district court informed petitioner

that the motion had been denied on August 18, 2009.7

                     In the interim, on or about May 6, 2011, petitioner had filed an application for post-

conviction relief with the state district court.8 Also, on or about March 23, 2012, he filed an

application with the Louisiana Fourth Circuit Court of Appeal.9 On April 3, 2012, the Court of


      1
    State Rec., Vol. II of III, transcript of April 20, 2009, p. 82; State Rec., Vol. I of III, minute
entry dated April 20, 2009; State Rec., Vol. I of III, jury verdict form.
  2
   State Rec., Vol. II of III, transcript of May 29, 2009; State Rec., Vol. I of III, minute entry dated
May 29, 2009.
      3
          State Rec., Vol. I of III.
      4
          State Rec., Vol. I of III, order dated August 18, 2009.
      5
     State v. Clowney, No. 2009-KA-1503, 2010 WL 8972137 (La. App. 4th Cir. May 12, 2010);
State Rec., Vol. I of III.
  6
          State v. Clowney, No. 2012-K-0060 (La. App. 4th Cir. Jan. 30, 2012); State Rec., Vol. I of III.
      7
          State Rec., Vol. I of III, minute entry dated March 5, 2012.
      8
          State Rec., Vol. I of III.
      9
          State Rec., Vol. I of III, application in case No. 2012-K-0449.

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Appeal transferred that application to the district court for consideration.10 When the district court

failed to act, the Court of Appeal issued another ruling on October 12, 2012, ordering the district

court to act on the application within thirty days.11 Then, on January 11, 2013, petitioner withdrew

his post-conviction application;12 however, it is unclear whether that withdrawal also extended to

the application transferred to the district court by the Court of Appeal.

                 Lastly, this Court notes that the record indicates that the state had originally indicated

that it would file a multiple bill to charge petitioner as an habitual offender. However, on January

11, 2013, the district court closed the case with no multiple bill ever having been filed.13

                 On January 8, 2014, petitioner filed the instant federal habeas corpus application.14

The state argues that the application should be dismissed because petitioner failed to exhaust his

claims in the state courts.15

                 "Before seeking a federal writ of habeas corpus, a state prisoner must exhaust

available state remedies, 28 U.S.C. § 2254(b)(1), thereby giving the State the opportunity to pass

upon and correct alleged violations of its prisoners' federal rights." Baldwin v. Reese, 541 U.S. 27,

29 (2004) (quotation marks omitted). The United States Supreme Court has explained:

   10
        State v. Clowney, No. 2012-K-0449 (La. App. 4th Cir. Apr. 3, 2012); State Rec., Vol. I of III.
   11
        State v. Clowney, No. 2012-K-1390 (La. App. 4th Cir. Oct. 12, 2012); State Rec., Vol. I of
III.
   12
        State Rec., Vol. I of III, minute entry dated January 11, 2013.
   13
        State Rec., Vol. I of III, minute entry dated January 11, 2013.
   14
        Rec. Doc. 1.
   15
        Rec. Doc. 14.

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                        The exhaustion doctrine is principally designed to protect the
                state courts' role in the enforcement of federal law and prevent
                disruption of state judicial proceedings. Under our federal system,
                the federal and state courts are equally bound to guard and protect
                rights secured by the Constitution. Because it would be unseemly in
                our dual system of government for a federal district court to upset a
                state court conviction without an opportunity to the state courts to
                correct a constitutional violation, federal courts apply the doctrine of
                comity, which teaches that one court should defer action on causes
                properly within its jurisdiction until the courts of another sovereignty
                with concurrent powers, and already cognizant of the litigation, have
                had an opportunity to pass upon the matter.

Rose v. Lundy, 455 U.S. 509, 518 (1982) (citations, footnote, quotation marks, and brackets

omitted).

                "To exhaust, a petitioner must have fairly presented the substance of his claim to the

state courts." Wilder v. Cockrell, 274 F.3d 255, 259 (5th Cir. 2001) (quotation marks omitted). That

requirement applies to all levels of review in the state court system, meaning that a petitioner's

federal claim must have been "fairly presented" to "each appropriate state court (including a state

supreme court with powers of discretionary review)." Baldwin, 541 U.S. at 29 (emphasis added).

Moreover, the claim must have been presented "in a procedurally proper manner according to the

rules of the state courts." Dupuy v. Butler, 837 F.2d 699, 702 (5th Cir. 1988) (quotation marks

omitted); see also Carty v. Thaler, 583 F.3d 244, 254 (5th Cir. 2009) ("Fair presentation does not

entertain presenting claims for the first and only time in a procedural context in which its merits will

not be considered unless there are special and important reasons therefor. The purposes of the

exhaustion requirement would be no less frustrated were we to allow federal review to a prisoner

who had presented his claim to the state court, but in such a manner that the state court could not,



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consistent with its own procedural rules, have entertained it." (citation and quotation marks

omitted)).

                Petitioner's statement of his claims in his federal application is largely nonsensical.

Therefore, this Court cannot discern with any degree of certainty what claims he is attempting to

assert in this proceeding. Nevertheless, those claims, whatever they may be, are clearly unexhausted

because petitioner has not properly filed any applications whatsoever with the Louisiana Supreme

Court raising the claims.16 As a result, even if the any of his claims were to have merit, which is an

issue that this Court need not and does not reach, relief could not be granted. See Mercadel v. Cain,

179 F.3d 271, 277 (5th Cir. 1999) ("[A]bsent the applicability of an exception to the exhaustion

requirement, a federal court lacks the authority to grant habeas relief on an unexhausted claim.").17

  16
      The undersigned notes the Louisiana Supreme Court's Central Staff wrote a letter to petitioner
dated June 10, 2010, which stated: "In reply to your letter of June 8, 2010, please be advised that
... We are returning your papers to you unfiled. You must initially raise your claim(s) regarding
recusal of the judge and the district attorney in the district court. If you do not receive a satisfactory
response there, you should file for writs at the Court of Appeal." Rec. Doc. 1, p. 33. Although it
is unclear what petitioner submitted the Louisiana Supreme Court, it is clear that his submission was
rejected. Because his submission was improper and not in conformity with the rules of the state
courts, it had no impact on the federal exhaustion requirement. Moreover, out of an abundance of
caution, in a telephone conversation with the staff of the Clerk of the Louisiana Supreme Court on
June 13, 2014, the undersigned's staff confirmed that petitioner has not properly filed any
applications with that court.
  17
       The state also contends that this Court should find the claims procedurally barred, arguing that
any new attempt by petitioner to return to the state courts to exhaust his claims would be doomed
to failure because the claims would be rejected on procedural grounds. See, e.g., Bledsue v.
Johnson, 188 F.3d 250, 254 (5th Cir. 1999) ("Procedural default exists where ... the petitioner fails
to exhaust all available state remedies, and the state court to which he would be required to petition
would now find the claims procedurally barred."). However, given the unclear and error-ridden
history of this case in the state courts, it is arguably unclear what the state courts would in fact do
if petitioner were to make another attempt to seek state post-conviction review. Therefore, the
undersigned declines to recommend that the claims be dismissed with prejudice as procedurally
barred.

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                                     RECOMMENDATION

               Accordingly, IT IS RECOMMENDED that the petition for federal habeas corpus

relief filed by John Clowney be DISMISSED WITHOUT PREJUDICE.

               A party's failure to file written objections to the proposed findings, conclusions, and

recommendation in a magistrate judge's report and recommendation within fourteen (14) days after

being served with a copy shall bar that party, except upon grounds of plain error, from attacking on

appeal the unobjected-to proposed factual findings and legal conclusions accepted by the district

court, provided that the party has been served with notice that such consequences will result from

a failure to object. 28 U.S.C. § 636(b)(1); Douglass v. United Services Auto. Ass'n, 79 F.3d 1415,

1430 (5th Cir. 1996) (en banc).18

               New Orleans, Louisiana, this twenty-third day of June, 2014.




                                                   DANIEL E. KNOWLES, III
                                                   UNITED STATES MAGISTRATE JUDGE




   18
      Douglass referenced the previously applicable ten-day period for the filing of objections.
Effective December 1, 2009, 28 U.S.C. § 636(b)(1) was amended to extend that period to fourteen
days.

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